                          UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF OHIO
                                 COLUMBUS DIVISION

 In Re:                                        Case No. 2:15-bk-50141

 John S. Jones
 Kim R. Howard-Jones
                                               Chapter 13
   fka Kim Howard
   fka Kim Lewis

 Debtors.                                      Judge C. Kathryn Preston

                                  CERTIFICATE OF SERVICE

I certify that a copy of the foregoing Notice of Mortgage Payment Change was served
electronically on August 11, 2020 through the Court’s ECF System on all ECF participants
registered in this case at the e-mail address registered with the Court

And by ordinary U.S. Mail on August 11, 2020 addressed to:

          John S. Jones, Debtor
          3815 Dehner Dr.
          Columbus, OH 43227

          Kim R. Howard-Jones, Debtor
          3815 Dehner Dr.
          Columbus, OH 43227

                                               Respectfully Submitted,

                                               /s/ Molly Slutsky Simons
                                               Molly Slutsky Simons (0083702)
                                               Sottile & Barile, Attorneys at Law
                                               394 Wards Corner Road, Suite 180
                                               Loveland, OH 45140
                                               Phone: 513.444.4100
                                               Email: bankruptcy@sottileandbarile.com
                                               Attorney for Creditor
